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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Ward Brehm,
Plaintiff, Civil Action No. 1:25-cv-660-RJL
VY,

Pete Marocco, et al.,

Defendants.

MEMORANDUM ORDER
(March 11, 2025) [Dkt. #7]

Before the Court is plaintiff Ward Brehm’s motion for a temporary restraining order
(“TRO”). Pl.’s Mot. for TRO (“Mot.”) [Dkt. #7]. Brehm seeks to enjoin defendants Pete
Marocco, the U.S. Department of Government Efficiency Service (“DOGE”), Sergio Gor,
Amy Gleason, Stephen Ehikian, and President Donald Trump (collectively, “defendants”)
from: (i) removing Brehm from his position as President of the United States African
Development Foundation (“USADF”); and (ii) appointing Marocco or any other person as
an acting member of the USADF’s board of directors (“Board”) without Senate
confirmation, or appointing Marocco or any other person President absent appointment by
a “lawfully-constituted Board.” Jd. at 1-2; Compl. [Dkt. #1]. Brehm also asks the Court
to order “that any actions taken or contemplated to be taken by ... Marocco, any other
[d]efendant, or any other person acting in concert with the [dJefendants purportedly as a

member of the Board of USADF, absent Senate confirmation, are void ab initio and without
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effect.” Mot. 1-2. For the reasons stated below, the Court DENIES plaintiff's motion for

a TRO.!

BACKGROUND

USADF is an independent federal agency established by Congress to support and
invest in African-owned and African-led enterprises, with the goal of “enabl[ing] the
people of African countries to develop their potential, fulfill their aspirations, and enjoy
better, more productive lives.” See 22 U.S.C. §§ 290h-1, 290h-2(a). Its management is
vested in the Board, which is “composed of seven members appointed by the President [of
the United States], by and with the advice and consent of the Senate.” Jd. § 290h-5(a). The
Board manages the agency, in part, through its appointment of a President. Jd. § 290h-
5(d).

On February 19, 2025, President Trump issued an Executive Order to “reduce the
size of the Federal Government,” listing USADF as an entity that “shall be eliminated to
the maximum extent consistent with applicable law, and such entities shall reduce the
performance of their statutory functions and associated personnel to the minimum presence
and function required by law.” Compl. {J 33-36 (quoting Exec. Order No. 14,217, 90 Fed.
Reg. 10577 (Feb. 19, 2025)). In the following days, DOGE arrived at USADF, met with

its leadership team, and attempted to gain access to its computer systems. Jd. {| 40-42.

' Brehm attached to his reply brief a Revised Proposed Order Granting Temporary Restraining Order which
adds a fourth request: “Defendants, or any other person acting in concert with the Defendants, shall not
maintain, retain, gain, or exercise any access or control over USADF’s offices, facilities, computer systems,
or any other records, files, or resources, absent the express permission of Plaintiff.” Proposed Order, Reply
in Supp. of Pl.’s Mot. for TRO [Dkt. #12-5]. The Court will also deny this request.

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On February 24, 2025, the Presidential Personnel Office (“PPO”) notified Brehm
that he had been terminated from his position as Chairman of the Board. Jd. 945.
According to defendants, PPO also notified the other Board members via email that they
had been terminated as well, “effective immediately.” Mem. in Opp’n to Pl.’s Mot. for a
TRO (“Defs.’ Opp’n’”) [Dkt. #10] at 3; see also Defs.’ Opp’n, Exs. 1, 2, 3, 5 [Dkt #10-1].
The parties dispute whether the other Board members ever received these emails, as
plaintiff asserts that they were sent to incorrect email addresses. Reply in Supp. of PI1.’8
Mot. for TRO (“Reply Br.”’) [Dkt. #12] at 3-5.

On February 28, PPO purportedly appointed Marocco as the Acting Chair of the
Board to fill Brehm’s seat. Compl. § 46. A few days later, on March 3, 2025, the other
Board members—who allegedly did not know they had been terminated—convened an
emergency meeting (without Marocco) and adopted a resolution appointing Brehm as the
President of USADF. Jd. { 47.

Marocco and DOGE then attempted to enter USADF “with software engineers who
had purportedly been detailed to the Foundation.” Jd. f7 49-50. At Brehm’s direction,
Marocco and DOGE were denied entry to USADF’s offices. Jd. 950. Defendants
eventually gained access to USADF’s offices; they disabled USADF’s locks and keycard
access and searched individual offices, including the offices of USADF’s General Counsel
and senior leadership. Reply Br., Ex. H, Supp. Decl. of Elisabeth Feleke (“Feleke Supp.
Decl.”’) [Dkt. #12-1] 9] 18-22. According to plaintiff, DOGE has represented to USADF
that it intends to reduce USADF to its “minimum presence and function.” Mot., Ex. B,

Decl. of Elisabeth Feleke (“Feleke Decl.”) [Dkt. #7-3] ]5. Plaintiff alleges that DOGE

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interprets the required “minimum” to be that “1) only the USADF Board and
President/CEO are statutorily required, 2) only one or two grants funded by private sector
partnerships are required, and 3) all other personnel/employees therefore need[] to be
eliminated under the Executive Order.” Id.

On March 6, 2025, Brehm filed the instant motion for a TRO, seeking to enjoin
Marocco from serving as Board Chairman and to enjoin defendants from removing Brehm
as President. See Mot. Later that day, the Court entered an administrative stay given the
significant statutory and constitutional issues involved, which expired at 5:00 PM on March
11,2025. See Min. Order (Mar. 6, 2025). The Court heard oral argument on the afternoon
of March 11; 2025.

STANDARD

A TRO “is an extraordinary form of relief.” Banks v. Booth, 459 F. Supp. 3d 143,
149 (D.D.C. 2020). In general, “the moving party must show (1) a substantial likelihood
of success on the merits, (2) that it would suffer irreparable injury if the [TRO] were not
granted, (3) that [the TRO] would not substantially injure other interested parties, and (4)
that the public interest would be furthered by the [TRO].” Chaplaincy of Full Gospel
Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006). “If a party fails to make a
sufficient showing of irreparable injury, a court may deny a motion for injunctive relief.”
New Mexico v. Musk, 2025 WL 520583, at *3 (D.D.C. Feb. 18, 2025) (quoting Beattie v.
Barnhart, 663 F. Supp. 2d 5, 8 (D.D.C. 2009)).

ANALYSIS

I will analyze irreparable harm first, because if plaintiff cannot show irreparable

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harm, his motion for a TRO must fail. See Beattie, 663 F. Supp. 2d at 8 (explaining that
irreparable harm is “a threshold requirement in granting temporary injunctive relief’).
Irreparable harm requires Brehm to show that his injury must be “both certain and great,
actual and not theoretical, beyond remediation, and of such imminence that there is a clear
and present need for equitable relief.” Church v. Biden, 573 F. Supp. 3d 118, 138 (D.D.C.
2021) (quoting Mexichem Specialty Resins v. EPA, 787 F.3d 544, 555 (D.C. Cir. 2015)).
Here, Brehm has not demonstrated either that his alleged harm is “both certain and great”
or “beyond remediation.” Therefore, I must deny his motion for a TRO.

The heart of the problem is that Brehm has not identified any cognizable irreparable
harm to himself'as opposed to potential harm to the agency and its partners. At the outset,
his loss of employment in and of itself is not irreparable harm. Should he eventually
succeed on the merits, the Court could remedy any harm by reinstating him to his position
and ordering back pay. See Farris v. Rice, 453 F. Supp. 2d 76, 79-80 (D.D.C. 2006)
(“[C]ases are legion holding that loss of employment does not constitute irreparable
injury.”’).

Brehm evidently anticipates this conclusion and instead argues that the harm stems
from his “statutory right to function” as President of USADF. Mem. in Supp. of Pl.’s Mot.
for TRO (“PI.’s Br.”) [Dkt. #7-1] at 24-26. Specifically, he asserts that he “has ‘a statutory
mission’ and ‘statutory right to function’ as the President of USADF, and the ‘loss of the
ability to do what Congress specifically directed him to do cannot be remediated with
anything other than equitable relief.’” Reply Br. 10 (citing Harris v. Bessent, 2025 WL

521027, at *8 (D.D.C. Feb. 18, 2025)). He claims that if defendants achieve their goals

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regarding the agency, it will no longer be “an agency dedicated to fulfilling its statutory
mission” of fostering partnerships and strengthening bonds between Africa and the United
States. /d. at 11.

This is not a cognizable irreparable harm to Brehm. As an initial matter, the viability
of a “statutory right to function” claim is uncertain. See Dellinger v. Bessent, No. 25-5052
(D.C. Cir. Mar. 10, 2025), slip op. at 8 (declining to find irreparable harm stemming from
a statutory right to function because, “[a]t worst, [the plaintiff] would remain out of office
for a short period of time” and thus the harm was not “irreparable’”’). To the extent courts
have accepted such a claim, it has been on different facts. See, e.g., Harris v. Bessent, 2025
WL 679303, at *39 (D.D.C. Mar. 4, 2025) (finding a-“statutory right to function” where
the plaintiff was “unlike most other federal employees” because she was “duly appointed
by the President and confirmed by the Senate to a position carrying a term of years with
specific reasons for her removal”), appeal docketed, No. 25-5055 (D.C. Cir. Mar. 4, 2025).
Unlike in Harris, for example, Brehm was not appointed by the U.S. President or
confirmed by the Senate to his position as USADF President.

Regardless, plaintiff could not show irreparable harm for at least two reasons. First,
defendants have stated that they will maintain USADF at the statutorily required
“minimum presence and function”—meaning it will maintain the Board, a President and
CEO, and one or two grants funded by private sector partnerships. Feleke Decl. 95. On
the facts before the Court, defendants will therefore comply with statutory requirements
regarding USADF. Plaintiffis, in essence, complaining that if he were President and CEO,

he would maintain USADF at a higher level of functioning. Congress has defined the

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agency’s minimum level of functioning already, yet Brehm is asking the Court to define
what it means for the agency to be fulfilling its mission. The Court would be guessing here
and would be substituting Brehm’s judgment for that of Congress. This I will not do.
Second, Brehm’s assertions regarding the extent of the harm are speculative. He
claims that without a TRO, the agency will be reduced to “ashes.” Reply Br. 11-12. Brehm
relies heavily on “[d]efendants’ actions at USADF’s sister agency, the Inter-American
Foundation (IAF).” Jd. at 11. According to Brehm, when Marocco gained access at IAF,
“he cancelled ‘all contracts and grants,’ ‘placed all IAF staff on administrative leave with
the intention of implementing a reduction in force within 30 days,’ and informed grantees
... that they would be required to return funds.” Jd.-Brehm also asserts defendants deleted
IAF databases, which would make it “nearly impossible to restore grants” should
defendants do the same at USADF. Jd.
Here, the mere possibility that defendants will follow the same path as they did with
IAF falls short of the “imminent threat of injury required to grant a TRO.” See Beattie,
663 F.Supp. 2d at 9. Plaintiff has not “identified specific individuals or programs
imminently targeted by [dJefendants.” See Musk, 2025 WL 520583, at *3, *10 (denying a
TRO for lack of irreparable harm where “[p]laintiffs’ declarations are replete with
attestations that if Musk and DOGE Defendants cancel, pause, or significantly reduce
federal funding or eliminate federal funding or eliminate federal-state contracts, Plaintiff
States will suffer extreme financial and programmatic harm” (emphasis in original)).
Instead, Brehm asks the Court to accept his speculative assertions of harm and implement

the “extraordinary” relief of a TRO. See Banks, 459 F. Supp. 3d at 149. Unfortunately for

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Brehm, based on the record before me, I cannot find that he satisfies the “high standard for
irreparable injury.” See Musk, 2025 WL 520583, at *3 (quoting Church, 573 F. Supp. 3d
at 138).

That said, Brehm raise a colorable Appointment Clause claim. See Mot. 19-24.
Where a vacancy arises to an office requiring Presidential appointment and Senate
confirmation, “Congress has given the President limited authority to appoint acting
officials to temporarily perform the functions of [that] office without first obtaining Senate
approval.” NLRB v. SW Gen., 580 U.S. 288, 294 (2017). Those circumstances derive
either from the Federal Vacancies Reform Act (the “FVRA”), see 5 U.S.C. §§ 3345-3346,
or another statutory provision that expressly: authorizes such appointment, see id.
§ 3347(a).

The FVRA does not, however, permit such temporary appointments to USADF’s
Board because it is “composed of multiple members” and “governs an independent
establishment or Government corporation.” See id. § 3349c(1); 22 U.S.C. §§ 290h-4(b),
290h-5(a)(1). The Court has not found—nor has the Government identified—any other
statute that provides President Trump with the authority to appoint Marocco as the Acting
Chairman of the Board. Defendants’ reliance on the Office of Legal Counsel’s “long
position” that President Trump’s authority to appoint Marocco as an acting Board member
“comes down to his Article II authority,” see Defs.’ Opp’n 13, ignores Congress’s
amendments to the statutes authorizing the President to fill vacancies and longstanding

Supreme Court precedent, see SW Gen., 580 U.S. at 293-97.
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Nevertheless, without a showing of irreparable harm, “even a strong merits
argument cannot secure a temporary restraining order at this juncture.” Musk, 2025 WL
520583, at *4.?

CONCLUSION

For the reasons explained, it is hereby ORDERED that plaintiff's motion for
temporary restraining order is DENIED. It is further ORDERED that the parties shall
meet and confer regarding further proceedings. The parties shall file a proposed briefing
schedule for a preliminary injunction and state their positions on consolidating the merits
with the preliminary injunction by 5:00 PM on March 12, 2025. For clarity, plaintiff's
- motion for preliminary injunction itself is not-due tomorrow.

It is further ORDERED that, during the course of the litigation on the preliminary
injunction, the Government must be prepared to provide testimony from Ethan Shaotran,
Jacob Altik, and Nate Cavanaugh, under oath, as to what steps were taken to maintain

USADF to “the minimum presence and function required by law.” See Feleke Decl. FJ 4—

* The Government argues that Brehm does not have standing to bring his removal and Appointment claims.
Defs.’ Opp’n 9~13. While the Government has represented that President Trump fired the Board prior to
its March 3 emergency meeting purporting to appoint Brehm, see Defs.’ Opp’n, Exs. 1-5 [Dkt. #10-1], it
has not provided the Court with enough information to make that determination. The Government has not
provided the Court with an authenticating declaration, genuine printouts of the emails, nor any sort of
attestation or proof that the emails did not bounce back. And it is apparent from the face of PPO’s email
terminating John Agwunobi that his name is spelled wrong in the email address. See Defs.’ Opp’n, Ex. 5.
Given that Brehm has not shown irreparable harm, I will not reach the issue of whether and to what extent
the President must provide notice to effectuate removal of its officers.

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5. The Court expects, and will closely scrutinize, defendants’ witnesses’ testimony on how

they maintained USADF’s statutory requirements.

RICHARD J. LEON
United States District Judge

SO ORDERED.

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